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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

                                                       )
 UNITED STATES OF AMERICA,                             )
                                                       )
                     Plaintiff,                        )
                                                       )
            v.                                         )
                                                       )    Civil Action No. 19-cv-3098
 TWENTY-FOUR CRYPTOCURRENCY                            )
 ACCOUNTS                                              )
                                                       )
                     Defendants.                       )
                                                       )
                                                       )

                                           STATUS REPORT

           COMES NOW the United States, by and through its attorney, the Acting United States

Attorney for the District of Columbia, and provides this status report:

           1.       On October 16, 2019, the government filed a civil forfeiture complaint against the

above-captioned Defendant Properties.

           2.       Pursuant to the procedures set forth in Rule G(4) of the Supplemental Rules For

Admiralty Or Maritime Claims and Asset Forfeiture Actions (“Supplemental Rules”) of the

Federal Rules of Civil Procedure, the government subsequently mailed and emailed notice of this

action to all known potential claimants.

           3.       The vast majority of the claimants refused service or were no longer at the address

on file.

           4.       On May 4, 2020, the government concluded the process of re-noticing these

potential claimants. See VanHorn v. D.E.A., 677 F. Supp. 2d 1299, 1310–11 (M.D. Fla. 2009)

(citing Flowers, 547 U.S. at 230, 126 S.Ct. 1708 (“[W]hen a letter is returned by the post office,

the sender will ordinarily attempt to re-send it, if it is practicable to do so.”) (citing Small v. United
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States, 136 F.3d 1334, 1337 (D.C.Cir.1998)).

          5.      Any claims based on this final round of direct notice are due by June 8, 2020.

          6.      Pursuant to Supplemental Rule G(4)(a), the government posted public notice

beginning November 21, 2019, of the instant forfeiture action on an official internet government

forfeiture site, which notice ran for 30 consecutive days.

          7.      No claims based on publication were filed, and the deadline to file such claims has

passed;

          WHEREFORE, the government respectfully requests leave to submit an additional status

report or request default judgment no later than June 12, 2020.


                                                Respectfully submitted,

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                                                Acting United States Attorney
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